                                 UNITED STATES
                       Case 11-11531-LMI       BANKRUPTCY
                                          Doc 53-1           COURT Page 1 of 1
                                                   Filed 06/20/11
                                             SOUTHERN DISTRICT OF FLORIDA
                                                   www.flsb.uscourts.gov

In re:    Angela Gomez                                         Case No.11-11531-LMI
                                                               Chapter 13
          Debtor                    /

                     DEBTOR’S NOTICE OF COMPLIANCE WITH REQUIREMENTS FOR
                                AMENDING CREDITOR INFORMATION

This notice is being filed in accordance with Local Rules 1007-2(B), 1009-1(D), or 1019-1(B) upon the filing of
an amendment to the debtor’s lists, schedules or statements, pursuant to Bankruptcy Rules 1007, 1009, or
1019. I certify that:

[ ]       The paper filed adds creditor(s) as reflected on the attached list (include name and address of each
          creditor being added). I have:
          1.    remitted the required fee (unless the paper is a Bankruptcy Rule 1019(5) report);
          2.    provided the court with a supplemental matrix diskette containing only the added creditors
                or electronically uploaded the added creditors in CM/ECF;
          3.    provided notice to affected parties, including service of a copy of this notice and
                a copy of the §341 or post conversion meeting notice [Local Rule 1009-1(D)(2)]; and
          4.    filed an amended schedule(s) and summary of schedules.

[ ]       The paper filed deletes a creditor(s) as reflected on the attached list (include name and
          address of each creditor being deleted). I have:
          1.   remitted the required fee;
          2.   provided notice to affected parties and
          3.   filed an amended schedule(s) and summary of schedules.

[X]       The paper filed corrects the name and/or address of a creditor(s) as reflected on the
          attached list. I have:
          1.    provided notice to affected parties, including service of a copy of this notice and a copy of the
                §341 or post conversion meeting notice [Local Rule 1009-1(D)(2)] and
          2.    filed an amended schedule(s) or other paper.

[ ]       The paper filed corrects schedule D, E or F amount(s) or classification(s). I have:
          1.   remitted the required fee;
          2.   provided notice to affected parties and
          3.   filed an amended schedule(s) and summary of schedules.

[ ]       None of the above apply. The paper filed does not require an additional fee, a supplemental matrix,
          or notice to affected parties. It does does not require the filing of an amended schedule and
          summary of schedules.

I also certify that, if required to be filed by the Bankruptcy Rules, the official form “Declaration Concerning
Debtor’s Schedules” has been signed by each debtor as required by Local Rules 1007-2(B), 1009-1(A)(2)
and (D)(1), or 1019-1(B) and, if filed electronically without imaged signatures, a local form “Declaration
Under Penalty of Perjury to Accompany Petitions, Schedules and Statements Filed Electronically”
accompanied the filing of the document.

Dated: June 20, 2011
/s/ Robert Sanchez
Attorney for Debtor (or Debtor, if pro se)                     Joint Debtor (if applicable)

Robert Sanchez, Esq.
Print Name                                                     Address

0442161
Florida Bar Number                                             Phone Number




LF-4 (rev. 06/02/08)
